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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                         Plaintiffs,                                      8:17CR65

       vs.
                                                                           ORDER
CHARLES T. MORRIS,

                         Defendant.


       This matter is before the court on defendant's unopposed MOTION TO CONTINUE
DEADLINE FOR FILING PRETRIAL MOTIONS [32]. For good cause shown, I find that the
motion should be granted. The defendant will be given a 4-week extension. Pretrial Motions shall be
filed by May 16, 2017.


       IT IS ORDERED:
       1. Defendant's unopposed MOTION TO CONTINUE DEADLINE FOR FILING PRETRIAL
MOTIONS [32] is granted. Pretrial motions shall be filed on or before May 16, 2017.
       2. Defendant is ordered to file the affidavit required by Rule 16(c), Fed. R. Cr. P. and NE.
Crim. R. 12.1 forthwith.
       3. The ends of justice have been served by granting such motion and outweigh the interests of
the public and the defendant in a speedy trial. The additional time arising as a result of the granting
of the motion, i.e., the time between April 18, 2017 and May 16, 2017, shall be deemed excludable
time in any computation of time under the requirement of the Speedy Trial Act for the reason
defendant's counsel required additional time to adequately prepare the case, taking into consideration
due diligence of counsel, and the novelty and complexity of this case. The failure to grant additional
time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


       Dated this 19th day of April, 2017.

                                                       BY THE COURT:

                                                       s/ F.A. Gossett, III
                                                       United States Magistrate Judge
